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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA


v.                                              CRIMINAL ACTION NO.
                                                3:00CR00263CH)
ANDRE DAWSON
     Defendant.
                                                MARCH 25, 2008


                             ORDER TO SHOW CAUSE

      The Defendant is hereby ORDERED to SHOW CAUSE, by April 15, 2008, why

the defendant ought to be granted relief pursuant to 18 U.S.C. § 3582(c)(2) and

994(u), as well as Amendment 706 to the U.S.S. Guidelines.

      The court has reviewed a supplemental Presentence Report prepared by the

Probation Office that suggests the defendant is ineligible because he received a

mandatory minimum sentence the Amendment does not lower the applicable guideline

range, U.S.S.G. 1B1.10, comment. (n.1.(A)). Defendant was sentenced to a mandatory

minimum sentence.



SO ORDERED.

      Dated at Bridgeport, Connecticut this 25th day of March, 2008.




                                           /S/ Janet C, Hall
                                        Janet C. Hall
                                        United States District Court
